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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION




OLIVER LEON ROGERS, individually and
on behalf of all others similarly
situated,

                  Plaintiff,

V.                                                   Cv. No. 11-2120-Ma

FIRST TENNESSEE BANK,

                  Defendant.




                               JUDGMENT
     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed
in accordance with the Order Dismissing Case With Prejudice,
docketed May 9, 2012.


APPROVED:


S/  Samuel H. Mays Jr.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 May 9, 2012                             THOMAS M. GOULD
DATE                                     CLERK
                                         S/ Jean Lee
                                         (By) DEPUTY CLERK
